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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                  )   Case No. CR-18-00258-EJD
15                                              )
            Plaintiff,                          )   UNOPPOSED MOTION FOR ORDER ISSUING
16                                              )   TWO RULE 17 SUPBOENAS
       v.                                       )
17                                              )
     ELIZABETH HOLMES and                       )
18   RAMESH “SUNNY” BALWANI,                    )   Hon. Edward J. Davila
                                                )
19          Defendants.                         )
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     UNOPPOSED MOTION FOR ORDER ISSUING TWO RULE 17 SUBPOENAS
     CR-18-00258 EJD
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 1                                          UNOPPOSED MOTION

 2          Pursuant to Federal Rule of Criminal Procedure 17, Defendant Elizabeth Holmes hereby moves

 3 this Court for an Order issuing the two trial subpoenas attached as Exhibits 1 and 2. The government

 4 takes no position on the requested relief.

 5          The subpoenas seek the trial testimony of two witnesses:

 6              Dr. Mark Burnes, an Arizona internist on the government’s witness list; and
 7              the custodian of records at Southwest Contemporary Women’s Health Care P.C.
 8               (“SWCWC”), an Arizona entity whose members appear on the government’s witness list.

 9          The subpoenas, which are returnable to the Court on the first day of the upcoming trial in this

10 matter, also request that the witnesses bring with them certain documents relevant to their expected trial

11 testimony. Those documents will include personal information of Theranos customers about whose test

12 results doctor-witnesses are expected to testify. Under Rule 17, a Court order is required before a

13 “subpoena requiring the production of personal and confidential information about a victim” may be

14 served upon a third party. Fed. R. Crim. P. 17(c)(3).

15          The Rule also mandates a procedure for providing notice to those individuals whose personal or

16 confidential information the subpoena seeks. See id. The proposed method of notice for each subpoena

17 is as follows:

18              The subpoena to Dr. Burnes seeks information related to one of his patients—M.E.1 Notice
19               will be provided to M.E. by mail and by phone.

20              The subpoena to SWCWC seeks the records of two patients. Advance notice for these two
21               patients is impractical at this time and may be unnecessary. Because their methods of

22               payment for Theranos tests is unknown, it is not known whether they qualify as alleged

23               victims of the charged offenses under the Court’s prior ruling. See Order on Defendants’

24               Mots. to Dismiss, Dkt. 330 at 28-33. Moreover, Ms. Holmes does not have the contact

25               information for these two patients. Ms. Holmes, however, supports a pre-trial process for

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27          Ms. Holmes has redacted from publicly filed documents all names of the individuals who
   received Theranos test results. Ms. Holmes simultaneously will move for leave to file the unredacted
28 subpoenas with the Court under seal.
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 1             notifying these patients, regardless of whether it can be determined that they qualify for Rule

 2             17(c)(3) notice. Ms. Holmes would propose that either SWCWC provide notice to those

 3             individuals, or make their contact information available to the defense to give notice.

 4          In sum, Ms. Holmes submits that the Rule 17 requirements for issuing the subpoenas are

 5 satisfied, with the understanding that the recipients may promptly move to quash or modify the

 6 subpoenas should they contend they are “unreasonable or oppressive” or on another ground as permitted

 7 under the Federal Rules and the rules of this Court. Fed. R. Crim. P. 17(c)(2).

 8          Ms. Holmes respectfully requests that the Court grant the attached Proposed Order issuing the

 9 two subpoenas.

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11 DATED: July 12, 2021

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14                                                       /s/ Katherine Trefz
                                                         KEVIN DOWNEY
15                                                       LANCE WADE
                                                         AMY MASON SAHARIA
16                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on July 12, 2021 a copy of this filing was delivered via ECF on all counsel
 3 of record.

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 5                                                      /s/ Katherine Trefz
                                                        KATHERINE TREFZ
 6                                                      Attorney for Elizabeth Holmes

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